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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                 ATHENS DIVISION

RONALD G. COOPER, and                        )
MARK R. ALLEN,                               )
                                             )
               Plaintiffs,                   )
                                             )
       v.                                    )      CIVIL ACTION NO. 18-CV-00060-CAR
                                             )
TOWNLEY FAMILY PARTNERSHIP,                  )
LLLP, and                                    )
TONY D. TOWNLEY,                             )
                                             )
               Defendants.                   )
                                             )

 PARTIES’ JOINT STIPULATION TO EXTEND DEADLINE FOR DEFENDANTS TO
             FILE ANSWER OR OTHER DEFENSIVE PLEADING

       Pursuant to Local Rule 6.1, the Parties hereby jointly stipulate to extend the deadline for

Defendants to file their answer or other defensive pleading thirty (30) days to August 9, 2018.



                                             Respectfully submitted,


Date: July 6, 2018                           s/ Tyler J. Sniff
                                             Donald D.J. Stack
                                             Georgia Bar No. 673735
                                             Tyler J. Sniff
                                             Georgia Bar No. 403125
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                                             Counsel for Plaintiffs Ronald G. Cooper and Mark
                                             R. Allen
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Date: July 6, 2018                  s/ Bricker S. Daughtry
                                    Bricker S. Daughtry
                                    Georgia Bar No. 663833
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                                    Counsel for Defendants Townley Family
                                    Partnership, LLLP and Tony D. Townley




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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2018 I electronically filed the foregoing PARTIES’ JOINT

STIPULATION TO EXTEND DEADLINE FOR DEFENDANTS TO FILE ANSWER OR

OTHER DEFENSIVE PLEADING with the Clerk of the Court for filing and uploading to the

CM/ECF system, which will automatically send e-mail notification of such filing to all Counsel of

Record.


Date: July 6, 2018                          s/ Tyler J. Sniff
                                            Tyler J. Sniff
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